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                    Exhibit H
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                                                     Protective Order
                       v.                                                           S3 21 Cr. 505 (ER)

 WILLIAM JONES,

                                  Defendant.



        Upon the application of the United States of America, DAMIAN WILLIAMS, United

States Attorney for the Southern District of New York, by and through Assistant United States

Attorneys Emily A. Johnson, Justin V. Rodriguez, and Christy Slavik, of counsel, for an order

precluding the dissemination of material produced pursuant to 18 U.S.C. § 3500 and/or Giglio v.

United States, 405 U.S. 150 (1972), and the Government’s general disclosure obligations or

practices, relating to (1) witnesses the Government anticipates may be called to testify at trial, and

(2) individuals the Government does not anticipate calling at trial (collectively, the “3500

Material”), made on consent, and based on the Court’s independent review, it is hereby

        ORDERED that (1) defense counsel must destroy or return to the Government all 3500

Material (and any copies thereof) at the conclusion of the trial of this matter or when any appeal

has become final; (2) the defense is precluded from disseminating any of the 3500 Material (and

any copies thereof) to anyone beyond the defendant, defense counsel, and any paralegal or staff

employed by the defense; (3) the defendant is precluded from taking any 3500 Material (or any

copies thereof) with him into any jail facility, or possessing any 3500 Material or copies thereof in

any jail facility, either before, during, or after trial; except that while in a jail facility the defendant

may review the 3500 Material, in the possession of defense counsel and/or any paralegal or staff

employed by the defense, when in the presence of defense counsel or any paralegal or staff
        Case
          Case
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employed by the defense; and (4) any 3500 Material designated “ATTORNEY’S EYES ONLY”

shall not be disseminated to the defendant or anyone else beyond defense counsel and any paralegal

or staff employed by the defense, nor shall the names of witnesses reflected in such material be

disclosed to the defendant.

         FURTHER ORDERED that if counsel for the defendant determines that the information

provided is material and relevant to the investigation and defense of their client and requires

counsel to share the information subject to this protective order with their client, counsel for the

defendant reserves the right, on notice to the Government, to seek permission from the Court to do

so.


AGREED AND CONSENTED TO:

         DAMIAN WILLIAMS
         United States Attorney


by: _____________________________
    ____________
              ____________                                         September 7, 2023
                                                             Date: _____________________
    Emily A. Johnson
              Johns
                 n onn
    Justin
        ti V.
           V Rodriguez
              R di
    Christy Slavik
    Assistant United States Attorneys


      ___________________________
             _________                                             9/07/2023
                                                             Date: _____________________
      Richard JJasper, E
                       Esq.
      Ying Stafford, Esq.
      Stephen Turano, Esq.
      Counsel for William Jones

SO ORDERED:

Dated: New York, New York
                 8 2023
       September __,

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                                              THEE HONORABLE
                                                    HONORAB AB BLE EDGARDO
                                                                    EDGARD RAMOS
                                              UNITED STATES DISTRICT JUDGE
